     Case 2:08-cr-00137-MKD      ECF No. 1690    filed 10/27/09   PageID.5721 Page 1 of 2




 1
 2
 3
 4
 5                             UNITED STATES DISTRICT COURT
 6                           EASTERN DISTRICT OF WASHINGTON
 7    UNITED STATES OF AMERICA,                     )
                                                    )     NO.     CR-08-0137-WFN-29
 8                              Plaintiff,          )
                                                    )
 9          -vs-                                    )     FINAL ORDER
                                                    )     OF FORFEITURE
10    DANIEL ALLEN FLAHERTY,                        )
                                                    )
11                              Defendant.          )
                                                    )
12
13         WHEREAS, on June 30, 2009, the Court entered a Preliminary Order of Forfeiture,
14 pursuant to the provisions of 21 U.S.C. § 853, preliminarily forfeiting to the United States
15 the following:
16             $23,246.61 U.S. funds held in US Bank Business Account #:
               153560144484, in the name of Daniel A. Flaherty, seized on or about
17             October 3, 2008.
18         WHEREAS Defendant DANIEL ALLEN FLAHERTY’s interest in the bank account
19 described above was forfeited to the United States pursuant to the plea agreement and
20 judgment filed herein.
21         WHEREAS, 21 U.S.C. § 853(n) and Fed. R. Crim. P. 32.2, require the resolution of
22 all third-party claims to the property in the final order of forfeiture.
23         Notice of Criminal Forfeiture was posted on an official government internet site
24 (www.forfeiture.gov) for at least 30 consecutive days, beginning on July 2, 2009, as
25 required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime
26 Claims and Asset Forfeiture Actions, as incorporated by 21 U.S.C. § 853(n). At the latest,

     FINAL ORDER OR
     FORFEITURE - 1
     Case 2:08-cr-00137-MKD      ECF No. 1690    filed 10/27/09   PageID.5722 Page 2 of 2




 1 the claim period expired on August 31, 2009. To date, no claims have been filed.
 2 Accordingly,
 3           IT IS ORDERED that:
 4           1. The $23,246.61 U.S. funds are hereby forfeited to the United States, and no
 5 interest exists in any other person;
 6           2. The United States Marshals Service shall dispose of the funds in accordance with
 7 law.
 8           The District Court Executive is directed to file this Order and provide copies to
 9 counsel.
10           DATED this 27th day of October, 2009.
11
12                                                   s/ Wm. Fremming Nielsen
                                                        WM. FREMMING NIELSEN
13   10-27                                       SENIOR UNITED STATES DISTRICT JUDGE
14
15
16
17
18
19
20
21
22
23
24
25
26

     FINAL ORDER OR
     FORFEITURE - 2
